Case: 4:97-cr-00141-ERW Doc. #: 650 Filed: 06/22/05 Page: 1 of 2 PagelD #: 55

UNITED STATES COURT OF APPEALS
FOR THE EIGHTH CIRCUIT
THOMAS F. EAGLETON COURT HOUSE

ROOM 24.329 VOICE (314) 244-2400
MICHAEL E. GANS 1118. 10TH STREET FAX (314) 244-2780
Clerk of Court ST. LOUIS, MISSOURI 63102 www.caé,uscourts.gov

RECEIVED” 22, 2005

JUN 22 2005

i _ §. DISTRICT Cuda
Suite 207 EASTERN DISTRI OF MO
. \
34 N. Brentwood Boulevard
St. Louis, MO 63105

Re: 98-2549 United States vs. Billie Jerome Allen

Dear Counsel:

Enclosed is a copy of an order entered today in the above case at the
direction of the court.

(5009-010199)

Sincerely,

Michael E. Gans
Clerk of Court

paw
Enclosure(s)

cc: Honorable E. Richard Webber, U.S. District Judge
Joseph M. Landolt, Asst. U.S. Attorney
Mary Jane Lyle
Steven E. Holtshouser
Billie Jerome Allen
John William Simon
West Publishing
Lois Law
Carleen Horenkamp, Court Reporter
James G. Woodward, Clerk

District Court/Agency Case Number(s): 4:97-CR-141(ERW)
Case: 4:97-cr-00141-ERW Doc. #: 650 Filed: 06/22/05 Page: 2 of 2 PagelD #: 56

UNITED STATES COURT OF APPEALS
FOR THE EIGHTH CIRCUIT

No. 98-2549
United States of America,

Appellee,
Order Denying Petition for
Rehearing and for Rehearing
En Banc

vs.

Billie Jerome Allen,

+ + &© © + *# & © &

Appellant.

The petition for rehearing en banc is denied. The petition
for rehearing by the panel is also denied.

Judge Gruender did not participate in the consideration or decision

of this matter.
(5128-010199)
June 22, 2005

Order i Ch be Cpe :

Clerk, U.S. Court of Appeals, Eighth Circuit
